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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

   In re                                               §
                                                       §   Civ. Act. No. 3:21-cv-0881-x
   HIGHLAND CAPITAL MANAGEMENT,                        §
   L.P.                                                §   Consolidated with:
                                                       §   3:21-cv-0880-x
             Reorganized Debtor/Plaintiff,             §   3:21-cv-1010-x
                                                       §   3:21-cv-1378-x
   v.                                                  §   3:21-cv-1379-x
                                                       §   3:21-cv-3160-x
   NEXPOINT ASSET MANAGEMENT,                          §   3:21-cv-3162-x
   L.P. (f/k/a HIGHLAND CAPITAL                        §   3:21-cv-3179-x
   MANAGEMENT FUND ADVISORS,                           §   3:21-cv-3207-x
   L.P.), et al.,                                          3:22-cv-0789-x

             Defendants.

             NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS
                            FOR THE FIFTH CIRCUIT

           NexPoint Asset Management, L.P. (f/k/a Highland Capital Management Fund

  Advisors, L.P. (“NexPoint”), defendant in Civ. Act. No. 3:22-cv-0881-x (consolidated with

  the above-captioned matters) and the adversary proceeding styled Highland Capital

  Management, L.P. vs. Highland Capital Management, Fund Advisors, L.P., Adversary

  Proceeding No. 21-03082-sgj, appeals to the United States Court of Appeals for the Fifth

  Circuit from the following orders of the District Court for the Northern District of Texas: (1)

  the AMENDED FINAL JUDGMENT AGAINST NEXPOINT ASSET MANAGEMENT,

  L.P. (f/k/a HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.) entered in

  this consolidated case as Dkt. 144 on August 3, 2023, and (2) Electronic Orders Dkt. 129 and

  Dkt. 131 (clarified by Electronic Order Dkt. 135, entered on July 6, 2023), which denied as

  moot the Motion for Ruling on Pending Objections (addressing, inter alia, an Objection to

  Order Denying Motions to Extend Expert Disclosure and Discovery Deadlines).


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           The parties to the judgment appealed from and the names and addresses of their

  respective attorneys are as follows:

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  Dated: September 1, 2023



                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on September 1 2023, a true and correct copy
  of the foregoing document was served via the Court’s CM/ECF system on all parties registered
  to receive electronic notices in this case.

                                              /s/ Deborah Deitsch-Perez
                                              Deborah Deitsch-Perez




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